 8:23-cv-01159-DCC-WSB             Date Filed 03/12/25       Entry Number 75         Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION


                                                   )
GEORGE D. METZ, II
                                                   ) C/A No. 8:23-cv-01159-DCC-KFM
                      Plaintiff,                   )
                                                   )
       v.                                          )
                                                   )
CITY OF EASLEY, SOUTH CAROLINA,                    )
                   Defendant.                      )
                                                   )
                                                   )


      DEFENDANT, CITY OF EASLEY’S, MOTION TO AMEND ITS ANSWER AND
                DEFENSES TO THE PLAINTIFF’S COMPLAINT

TO:     PLAINTIFF NAMED ABOVE:

        PLEASE TAKE NOTICE that the Defendant, by and through its undersigned counsel, will

move before this Court, at a time and place to be designated by the Court, but no sooner than ten

(10) days after the service hereof, for an Order granting the Defendant leave to amend its Answer

pursuant to Rule 15, of the Federal Rules of Civil Procedure. Plaintiff seeks to amend its Answer

to add an additional defense of mootness or lack of case or controversy based upon the Defendant’s

adoption of revisions to the challenged ordinance in this case. Attached hereto as Exhibit “A” is

Defendant’s proposed Amended Answer.

        I hereby certify that this Motion is meritorious and not intended merely for delay.
8:23-cv-01159-DCC-WSB               Date Filed 03/12/25        Entry Number 75          Page 2 of 2




                                                   DUGGAN & HUGHES, LLC

                                                       /s/ Daniel R. Hughes
                                                   Daniel R. Hughes
                                                   South Carolina Bar No. 72547
                                                   Federal ID No. 10568
                                                   dhughes@dugganhughes.com
                                                   457-B Pennsylvania Avenue (29650)
                                                   P.O. Box 449
                                                   Greer, SC 29652
                                                   Tel: (864) 334-2500
                                                   (864) 879-0149 (facsimile)

                                                   Counsel for Defendant, City of Easley


                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this day filed electronically via CM/ECF a true and correct

copy of the foregoing MOTION TO AMEND DEFENDANT’S ANSWER AND DEFENSES in

the United States District Court for the District of South Carolina. Furthermore, I have served the

Plaintiff, a pro se litigant, by regular and certified mail at the address below, and therefore, I have

served all the parties in this case in accordance with the directives from the Court Notice of

Electronic Filing (“NEF”) which was generated as a result of the electronic filing:

       George D. Metz, II
       4980 SE 140th St.
       Summerfield, FL 34491


       This 12th day of March 2025.
                                                      /s/ Daniel R. Hughes
                                                   Daniel R. Hughes
